     Case 2:17-cv-04439-DSF-PLA Document 42 Filed 02/15/18 Page 1 of 4 Page ID #:452



      DEBORAH CONNOR, Acting Chief
1     Money Laundering and Asset Recovery Section (MLARS)
      MARY BUTLER
2     Chief, International Unit
      JONATHAN BAUM, Senior Trial Attorney
3     BARBARA LEVY, Trial Attorney
      Criminal Division
4     United States Department of Justice
         1400 New York Avenue, N.W., 10th Floor
5        Washington, D.C. 20530
         Telephone: (202) 514-1263
6        Email: Woo.Lee@usdoj.gov

7     NICOLA T. HANNA
      United States Attorney
8     LAWRENCE S. MIDDLETON
      Assistant United States Attorney
9     Chief, Criminal Division
      STEVEN R. WELK
10    Assistant United States Attorney
      Chief, Asset Forfeiture Section
11    JOHN J. KUCERA (CBN: 274184)
      JONATHAN GALATZAN (CBN: 190414)
      Assistant United States Attorneys
12    Asset Forfeiture Section
         312 North Spring Street, 14th Floor
13       Los Angeles, California 90012
         Telephone: (213) 894-3391/(213) 894-4493
14       Facsimile: (213) 894-7177
         Email: John.Kucera@usdoj.gov
15             Jonathan.Galatzan@usdoj.gov
16    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
17
18                            UNITED STATES DISTRICT COURT
19
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
      UNITED STATES OF AMERICA,                No. CV 17-4439-DSF (PLAx)
21
                 Plaintiff,                    STIPULATION AND REQUEST TO
22                                             EXTEND TIME TO FILE CLAIM AND
                       v.                      ANSWER TO COMPLAINT BY AT LEAST AN
23                                             ADDITIONAL 30 DAYS
      ALL RIGHTS TO AND INTERESTS IN           Current Claim and Answer Dates:
24    THE MOTION PICTURES “DADDY’S             2/15/18 and 3/8/18
25    HOME” AND “DUMB AND DUMBER TO,”
      BELONGING TO RED GRANITE                 New Response Dates:
      PICTURES,                                3/15/18 and 4/5/18
26
27
                  Defendants.
28
     Case 2:17-cv-04439-DSF-PLA Document 42 Filed 02/15/18 Page 2 of 4 Page ID #:453




1           This action was filed on June 15, 2017, against the defendants
2     “Any and all rights to and interest in the motion pictures ‘Daddy’s
3     Home’ and ‘Dumb and Dumber To,’ belonging to Red Granite Pictures”
4     (the “Defendant Assets”).       Red Granite Pictures, Inc.; Red Granite
5     Capital Ltd.; Red Granite Capital US, LLC; Red Granite International,
6     Inc.; Red Granite Entertainment Holdings, LLC; DDTo Finance, LLC;
7     Dumb and Dumber To, LLC; RGDD2 Productions, LLC; Daddy’s Home, LLC;
8     Riza Shahriz Bin Abdul Aziz; Christopher Joey McFarland; the
9     Directors Guild of America, Inc.; Screen Actors Guild-American
10    Federation of Television and Radio Artists, the Writers Guild of
11    America West, Inc.; their respective Pension and Health Plans; the
12    Motion Picture Industry Pension and Health Plans; and Paramount
13    Pictures (collectively, “potential claimants”) each may have a
14    potential interest in the Defendant Assets.
15          On September 15, 2017, interested party Red Granite Pictures,
16    Inc. filed a “Notice of Settlement.”        Subsequently, the parties have
17    agreed to an additional thirty-day extension of the deadline as to
18    the claim and answer due, set forth in Supplemental Rule G(5)(a)(ii)
19    of the Supplemental Rules for Admiralty or Maritime Claims and Asset
20    Forfeiture Actions.      At present, the deadline to file any claim to
21    the Defendant Assets is February 15, 2018, and any answer would be
22    due March 8, 2018.     Accordingly, with this requested extension, the
23    potential claimants’ time to file a claim is extended from February
24    15, 2018 to March 15, 2018, and the time to file an answer is
25    extended from March 8, 2018 to April 5, 2018.
26          The parties agree that these extended deadlines will permit the
27    United States and potential claimants to finalize the specifics of
28    the settlement agreement reached between the Government and the



                                              2
     Case 2:17-cv-04439-DSF-PLA Document 42 Filed 02/15/18 Page 3 of 4 Page ID #:454




1     potential claimants and for the Government to obtain those approvals
2     necessary to enter such a settlement agreement.
3           By the signature of their attorneys hereunder, the parties
4     stipulate and request that this Court extend potential claimants’
5     claim deadline to March 15, 2018, and extend the Answer deadline to
6     April 5, 2018.
7
                                            Respectfully submitted,
8      Dated: February 15, 2018
9                                           DEBORAH CONNOR
                                            Acting Chief, AFMLS
10
                                            NICOLA T. HANNA
11                                          United States Attorney
12
13                                                /s/John J. Kucera
                                            JOHN J. KUCERA
14                                          JONATHAN GALATZAN
                                            Assistant United States Attorneys
15
16                                          WOO S. LEE
                                            Deputy Chief, MLARS
17                                          JONATHAN BAUM
                                            BARBARA LEVY
18                                          Trial Attorneys, MLARS
19
                                            Attorneys for Plaintiff
20                                          UNITED STATES OF AMERICA
21
       Dated: February 15, 2018                /s/(per e-mail confirmation)
22
                                            MATTHEW L. SCHWARTZ
23                                          DAVID L. ZIFKIN
24                                          Attorneys for Claimants
25                                          Red Granite Pictures, Inc.;
                                            Red Granite Capital US, LLC;
26                                          Red Granite Capital Ltd.;
                                            Red Granite International, Inc.;
27                                          Red Granite Entertainment Holdings,
28                                          LLC;
                                            DDTo Finance, LLC;


                                              3
     Case 2:17-cv-04439-DSF-PLA Document 42 Filed 02/15/18 Page 4 of 4 Page ID #:455



                                            Dumb and Dumber To, LLC;
1                                           RGDD2 Productions, LLC;
2                                           Daddy’s Home, LLC;
                                            Riza Shahriz Bin Abdul Aziz;
3                                           Christopher Joey McFarland
4
5
6     Dated: February 15, 2018               /s/(Per e-mail confirmation)______
                                         JOSEPH A. KOHANSKI
7
                                         Attorneys for Claimants
8                                        The Directors Guild of America, Inc.;
9                                        Screen Actors Guild-American Federation
                                         of Television and Radio Artists; the
10                                       Writers Guild of America West, Inc.;
                                         their respective Pension and Health
11                                       Plans; and the Motion Picture Industry
12                                       and Health Plans

13    Dated: February 15, 2018              /s/(per e-mail confirmation)________
                                         RICHARD B. KENDALL
14
15                                       Attorneys for Claimant
                                         Paramount Pictures
16
17
18
19
20
21
22
23
24
25
26
27
28



                                              4
